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IN THE DISTRICT COURT OF THE UNITED STATES
FOR THE MIDDLE DISTRICT OF ALABAMA
NORTHERN DIVISION

THE COLONIAL BANCGROUP, INC.,
and KEVIN O’HALLORAN, as Plan
Trustee,

Plaintiffs, 7
vi

PRICEWATERHOUSECOOPERS LLP,
and CROWE HORWATH LLP,

Defendants.

 

FEDERAL DEPOSIT INSURANCE
CORPORATION AS RECEIVER FOR
COLONIAL BANK,

Plaintiff,

V»

PRICEWATERHOUSECOOPERS LLP
and CROWE HORWATH LLP,

Defendants.

 

 

Casc No. 2:11-¢v-00746-WKW

Case No. 2:11-cv-00957-WKW

 

CoLONIAL BANCGRQUP’s AND KEviN 0’HALL0RAN’s` sECONl) AMENI)ED

coM_PLAINT

Plaintiffs The Colonial BancGroup, Inc. (“BancGroup”), as the debtor under its

confirmed Second Amended Chapter 11 Plan of Liquidation of The Colonial BancGroup, Inc.

(as amended, the “Plan”), and Kevin O’Hailoran, as the plan trustee acting for and on behalf of

` BancGroup under the Plan, hereby assert the following claims against Defendants, both of whom

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transact business in this district:

I. OVERVIEW
l. Between 2002 and 2009, BancGroup and its wholly-owned banking subsidiary

Colonial Bank were victimized by one of the largest and longest~lasting frauds in the history of
the U.S. banking industry. This fraud was centered in the warehouse lending division
(“MWLD”) in Orlando, Florida, and ultimately detected as a result of the raid by federal
enforcement authorities of the offices of the MLWD and its largest client, Taylor Bean &
Whital<er Mortgage Corporation (“Taylor Bean”) on August 3, 2009. This raid and the resulting
discovery were rapidly followed by the closure and sale by regulators of Colonial Bank on
August 14, 2009, and the Chapter ll bankruptcy filing of BancGroup in Montgomery, Alabama
on August 25, 2009.

2. 'l'he fraud involved, among other things, the supposed “sale” by Taylor Bean to
Colonial Bank of 99% participation interests in allegedly qualifying loans and alleged pools of
yet to be securitized mortgages In addition to traditional Warehouse lines of credit, Taylor Bean
had access to funding under two additional MWLD facilities -- one known as “COLB” and the
other known as the “AOT” or “assignment of trade” facility. Instead of being characterized as
“loans,” advances made to Taylor Bean under the COLB and AOT facilities, respectively, were
treated as “sales” for accounting purposes under an accounting treatment that was blessed by
Defendant PricewaterhouseCoopers, LLP, year after year. As a result of this “sale accounting”
treatment, When the MWLD made advances to Taylor Bean under the COLB and AOT facilities,
BancGroup was deemed to have “purchased” 99% participation interests in individual loans
(COLB) and pools of mortgage loans (AOT), respectively. Taylor Bean Was, by far, the largest

COLB customer and the only MWLD customer that had access to an AOT facility.

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3. The magnitude of the “purchases” that BancGroup was supposedly making from
rl`aylor Bean under the COLB and AOT facilities was significant BancGroup’s year-end
consolidated financial statements for 2007 and 2008 stated the balance of “loans held for sale”
(COLB) to be in excess of $1.5 billion - with the majority of this balance relating to supposed
participation interests that BancGroup Was acquiring in loans originated by 'l`aylor Bean.
Likewise, the amount of “Securities Purchased Under Agreements to Resell,” (AOT) recorded on
BancGroup’s balance sheet as a result of advances made to 'l`aylor Bean only under the AOT
facility was also in excess of $1.5 billion each year.

4. Any time an advance was made by the MWLD to Taylor Bean under the COLB
and AOT facilities to “purchase” an interest in a loan or pool of loans, that advance was
supposed to be backed by an existing, enforceable, takeout commitment between Taylor Bean
and a third party investor. ln many instances, however, there were no loans (COLB) or
qualifying pools of mortgages (AOT), only manufactured data based on pre-existing mortgages
that had long ago been sold in the marketplace to investors. There were no collateral packages
delivered to Colonial Bank as custodian that matched or supported this fraudulent data on the
fictitious mortgage pools. There were no takcout commitments from takeout buyers. 'l`here were
no real takeout buyers. The AOT facility ~ which later became the repository for the fraud --
l was essentially an empty vessel, and what had been f‘purchasedi’ by BancGroup_under the AOT
facility was a sham. The facts, details, and extent of this bank, wire and securities fraud would
lead to the criminal conviction of Lee Farkas, the president of 'l`aylor Bean, in April of 201 l, and
the guilty pleas of other employees of 'l`aylor Bean and certain individuals within the MWLD.

The extent of the Taylor Bean fraud exceeds $1.8 billion.

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5. BancGroup was a publicly-traded financial holding company and, as such, had an
Audit Committee, consisting of independent, non-management individuals, which assisted
BancGroup's Board of directors With, among other things, the supervision of the financial
reporting and internal controls Understandably, the Audit Committee did not conduct either
internal or external audits of the BancGroup and its subsidiaries and relied instead on the
performance of the independent audit functions of the internal and external auditors

6. Throughout the extended period of this fraud, BancGroup and its Audit
Committee employed the services of Defendant PwC to serve as BancGroup’s outside
independent auditor and conduct an "integrated" audit of the financial statement and internal
controls.

7. PwC represented to the Audit Committee and Board of Directors that it would
design and perform its audits to gain reasonable assurance that BancGroup’s financial statements
were free from errors or fraud. At all times relevant to this Complaint, PwC failed to take steps
consistent with its professional duties and obligations that would have resulted in detection of
fraud and/or errors in the financial statements resulting from fraud. Among other things, PwC
recklessly failed to staff, plan, design, and perform its audits to address the significant accounts,
processes and operational risks in the MWLD, including the risk of customer fraud. lnstead,
y PWC played a pivotal rolein expanding the MWLD’srelationship with Taylor Bean and the risk t
of loss associated with a potential fraud by Taylor Bean and enabling the continuation and
growth of the fraud. 4

8. BancGroup and its Audit Committee also engaged Crowe Horwath, LLP (togetlier
With its predecessor in operational interest, Crowe Chizek and Company LLC, “Crowe”) to serve

as BancGroup’s independent internal auditor. In this capacity, Crowe agreed to among other

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things, develop a risk assessment and internal audit plan each year to address risks such as fraud
and to perform the testing necessary to execute that plan.

9. PWC and Crowe, as BancGroup’s independent outside auditor and internal auditor
respectively, reported directly to BancGroup’s Audit Committee. Based on their duties as
external and internal auditors PWC and Crowe were obliged, among other things, to gain an
understanding of MWLD's business facilities transactions risks and internal controls, design
audit plans in accordance therewith, and execute such audit plans in accordance with applicable
professional standards

10. In its capacity as BancGroup’s internal auditor, Crowe was responsible for,
among other things, assessing the risks within BancGroup and its banking subsidiary and
creating a risk assessment and internal audit plan to address each of those risks The Audit
Committee and Board of Directors adopted the plan in reliance upon Crowe’s independence,
expertise, recommendations and representations that the plan was comprehensive in addressing
all major risks The Audit Committee further relied upon Crowe each year to execute on the plan
in accordance With applicable professional standards

ll. At the conclusion of each audit, PWC represented in its audit reports that it had
performed its “integrated” audits of BancGroup in accordance with professional auditing
standards,_that BancGroup’s financial statements were fairly stated under generally accepted
accounting principles (“GAAP”), and that an effective system of internal controls existed over
BancGroup’s financial reporting Crowe, on the other hand, separately represented that it would
monitor BancGroup’s internal controls over warehouse lending activity and that it was

conducting internal audits of the MWLD sufficient to “safeguard the assets” of BancGroup.

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12. PwC and Crowe conducted no meaningful audit of the COLB or AOT facilities or
the financing lines that Taylor Bean had with the MWLD, despite the fact that Taylor Bean Was
the only customer approved under the AOT facility and the large majority of the overall assets
attributable to the MWLD were related to Taylor Bean transactions Little effort was made by
PWC and Crowe to understand or audit the COLB or AOT facilities, despite the fact that each
account was clearly material to BancGroup’s consolidated financial statement

13. Both PwC’s independent audits and Crowe’s internal audits of BancGroup’s
financial statements demonstrate a remarkable lack of due care and a failure by Defendants to
gain an understanding of BancGroup’s business and the risks associated with it. PwC’s and
Crowe’s complete failure to audit the MWLD’s COLB and AOT facilities or to perform a
meaningful audit of the Taylor Bean relationship with the MLWD constitutes gross negligence,
and PwC’s and Crowe’s reckless and grossly negligent representations and reports to
BancGroup’s Audit Committee misstated BancGroup’s true financial condition and failed to
comply with professional standards

14. Had PWC and Crowe properly discharged their professional duties, the ongoing
fraud and the hole in BancGroup’s balance sheet would have been detected in connection with
the fiscal year end 2007 audit and/or the federal regulatory examination ongoing in early 2008,
_ as described below, and BancGroup’s Board of `Directors could have taken corrective measures,
including (but not limited to) drastically altering the business or even placing BancGroup into
bankruptcy at that point, thereby avoiding the deepening of BancGroup’s insolvency and the
concomitant consumption of BancGroup’s existing assets Unaware of such fraud, BancGroup

continued to downstream to Colonial Bank more than $500,000,000 from the second quarter of

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2008 through the second quarter of 2009 and incurred substantial additional debt in connection
therewith.

15. By the time the fraud was exposed in 2009, more than $1.8 billion had been
siphoned out of Colonial Bank and BancGroup Was left with hundreds of millions of dollars in
worthless or non-existent assets on its balance sheet. Unable to take any corrective steps or to
obtain any federal assistance, and left with no ability to raise funds by other means, BancGroup
had no choice but to file for bankruptcy protection BancGroup’s capital investment in Colonial
Bank in excess of $1.2 billion dollars was rendered worthless BancGroup’s damages which
continue to be assessed and determined, easily exceed $500,000,000.

II. PARTIES, JURISDICTION AND VENUE
16. On August 25, 2009 (the “Petition Date”), BancGroup filed a voluntary petition

for relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) in the
United States Bankruptcy Court for the Middle District of Alabama (the “Bankruptcy Court”).
On June 2, 2011, the Bankruptcy Court entered an order confirming the Plan. The Plan became
effective on June 3, 2011 (the “Effective Date”). Pursuant to the Plan, all assets and property
remain vested in BancGroup’s bankruptcy estate and BancGroup continues in existence, with its
affairs, disposition of its assets and the pursuit of claims now being overseen by Kevin
O’Halloran, the duly appointed plan trustee under the Plan (the “Plan Trusteei’).

17. Section 10.6 of the Plan provides among other things that BancGroup retains all
causes of action accruing to it and its bankruptcy estate, including all “Estate Causes of Action.”
The Plan defines Estate Causes of Action to include all claims against any professional person
(including attorneys, accountants consultants and other professional persons identified in

BancGroup’s disclosure statement accompanying the Plan) that were retained by BancGroup

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prior to the Petition Date. The claims asserted in this Complaint constitute Estate Causes of
Action which BancGroup and the Plan Trustee have standing to pursue.

18. Defendant PwC is a limited liability partnership with partners located throughout
the United States, including Alabama. PwC is currently one of the four largest accounting firms
in the United States and the world. Between 2002 and early 2009, as the fraud mushroomed,
PWC Was retained to perform integrated audits of the consolidated financial statements of
BancGroup and its subsidiaries as of and for the years ended December 31, 2002 through 2008 in
connection with the filing of such financial statements With the U.S. Securities and Exchange
Commission (the “SEC”) on Form 10-K. During this same period, BancGroup also engaged
PWC to audit BancGroup’s internal controls over financial reporting Beginning in fiscal year
end 2004, PwC’s financial statement audits Were “integrated” with audits over BancGroup’s
internal control structure such that PWC was essentially performing two audits in one.

19. Defendant Crowe is now a limited liability partnership with partners located
throughout the United States, including Alabama (prior to the firm changing its name in 2008,
Crowe Was a limited liability company). Crowe is currently one of the ten largest accounting and
consulting firms in the United States Between 2002 and 2009, Crowe played a critical role in
serving as BancGroup’s internal auditor. Crowe Was charged with the responsibility of
designing, implementing and monitoring risk management practices at BancGroup, including g
controls over MWLD for the purpose (among others) of safeguarding BancGroup’S assets.v
Crowe’s engagement as internal auditor was greatly influenced by PwC. In fact, BancGroup’s
engagement of Crowe was arranged through PWC auditor, Michael Thomas, who then switched

over to become Crowe’s engagement partner on the internal audits of BancGroup.

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20. Jurisdiction in this Court is proper because the amount in controversy exceeds
$10,000.
21. The statutes of limitation for the claims asserted herein were tolled pursuant to the

provisions of 11 U.S.C. § 108, for a period of no less than two years from the date of the order
for relief in bankruptcy.
III. GENERAL BACKGROUND

A. Overview Of Bancgroug’s Banking Ogerations
22. As a publicly-traded bank and financial holding company, BancGroup’s principal

activity was to oversee the business of its operating subsidiaries including Colonial Bank.

23. BancGroup’s subsidiary, Colonial Bank, was organized into six reporting
segments The MWLD, Colonial Bank’s mortgage warehouse lending division, was located in
Orlando, Florida. ln addition, there were five regional bank segments which correlated to each
of the five geographic locations in which the bank conducted business - Florida, Alabama,
Georgia, Nevada and rl`exas. Colonial Bank operated full service branches in each of these five
states where it provided loan, wealth management and mortgage banking services

24. As set forth in BancGroup’s public filings, the bulk of Colonial Bank’s business
and assets were located in Florida. Of the 347 retail banking branches operated by Colonial
Bank as of December 31, 2008, 197 of those branches were located in Florida, 90 were located in

Alabama, 19 were located in Georgia, 21 were located in Texas, and 20 were located in Nevada.

wB. The Relationshig Between The MWLD And Taylor Bean & Whitaker
Miortg age Corp_ora"tion And I_)efendant:,,l’wc’s Role Ln E`_)gnandi;i_g Thg_t_l

Relationshig

25. As one of the largest mortgage warehousing banks in the country, Colonial
Bank’s MWLD was engaged in the business of providing secured, short-term financing to

residential mortgage originators, often referred to as "interim funding," to help them meet their

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working capital needs and to fund the origination of loans until such time as the loans could be
sold to a final investor in the secondary market The MWLD was a major source of BancGroup’s
revenue and accounted for approximately 20% of BancGroup’s reported net income between
2005 and 2009.

26. The MWLD had a longstanding business relationship with Taylor Bean, a Florida
based mortgage broker, which dated back to at least 2002. Taylor Bean was controlled by an
individual named Lee Farkas, who served as Taylor Bean’s Chairman. By 2008, 'l`aylor Bean
had become one of the nation’s largest non-depository mortgage lenders, having allegedly
originated over $30 billion in residential home mortgage loans

27. Like many other mortgage brokers, Taylor Bean did not have sufficient capital to
fund the residential mortgage loans that it originated even though it supposedly had contractually
pre-arranged the sale of those loans to agencies such as the Federal Home Loan Mortgage
Corporation (“Freddie Mac”), the Government National Mortgage Association (“Ginnie Mae”)
and private third-party investors Taylor Bean, therefore, relied heavily upon its interim funding
arrangement with the MWLD to facilitate the origination of loans until such time as the
contractually pre-arranged sales of those loans to third parties in the secondary market had been
finally consummated

28. '_l`aylor Bean’s relationship with the MWLD started with a traditional warehouse
line of credit whereby the MWLD made secured loans to Taylor Bean to originate mortgage
loans and Taylor Bean would repay those loans and its line of credit upon the sale of the loans to
third party investors The amount that Taylor Bean was able to borrow from the MWLD under
its warehouse line of credit was restricted by federal banking laws and regulations Which impose

lending limits on the amount that a single bank can loan to a given borrower

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29. In late 2002, however, following a consultation with Defendant PWC, the MWLD
started providing additional funding to Taylor Bean under a new facility known as the “COLB”
facility. After supposedly evaluating the “Loan Participation Sale Agreement” that governed the
COLB facility (“COLB LPSA”) under an accounting standard known as Financial Accounting
Standard No. 140 (“FAS 140”), PwC, including an “expert” from PwC’s national office,
concluded that transactions consummated under the COLB LPSA were eligible for “sale”
accounting treatment As a result, instead of treating the COLB transactions as “loan”
transactions PwC concluded that advances made to Taylor Bean under the COLB facility could
be treated as “sales” whereby the MWLD was “purchasing,” on an interim basis, a 99%
participation interest in an underlying mortgage loan that Taylor Bean originated and supposedly
had pre-committed for sale to a third party investor. PwC concluded that BancGroup’s
participation interest in the underlying loans could be recorded as an asset on BancGroup’s
balance sheet under the line item “loans held for sale” until such time as the sale of the loan to
the third party investor had been finally consummated which should have been Within a
relatively short period of between 30-45 days

30. BancGroup and management within the MWLD reasonably relied upon PWC and
its auditing and accounting experts to resolve how the COLB transactions were required to be
treated for accounting purposes and to determine if ‘°sale” accounting treatment under FAS 140
Was appropriate PwC’s conclusion that the COLB facility qualified for “sale” accounting
treatment had a profound impact on BancGroup and the operation of the MWLD as PwC’s
conclusion meant that Taylor Bean would now have the ability to access funding that was far in
excess of its warehouse line of credit and the legal lending limits, thereby massiver expanding

the volume of transactions that could take place, the amount of money that would be exchanged

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between the MWLD and Taylor Bean, and the risk of loss associated with any potential fraud by
'l`aylor Bean on the MWLD.

31. Although the adoption and application of FAS 140 “sale” accounting treatment to
the COLB facility constituted a significant change in the MWLD’s business and applicable
accounting principles there is no evidence that PWC ever performed a meaningful evaluation of
the COLB LPSA under FAS 140. And, in violation of its professional duties, there is no
evidence that PwC ever addressed the implications of adopting FAS 140 “sale” treatment with
BancGroup’s Audit Committee in late 2002 or for several years thereafter.

32. Indeed, the first time that PWC ever seriously evaluated whether transactions
under the COLB LPSA qualified for “sale” treatment and the first significant, albeit still
incomplete and inadequate, discussion that PWC had with the Audit Committee concerning the
application of FAS 140 to COLB transactions was in April of 2008, more than five years later.
lmportantly, this analysis and discussion took place only after the Office of the Comptroller of
the Currency (OCC) questioned PwC as to whether it was really appropriate to treat COLB
transactions as “sales” under FAS 140. The OCC’s inquiry was a significant issue for
BancGroup and PwC, as reversing FAS 140 treatment could have triggered a restatement and
exposed PwC to liability for its prior advice and audits

33. In response to_the OCC’s inquiry, PwC crafted a new rationale,never previously
recognized or applied, to justify the “sales” accounting treatment accorded to COLB in 2007 and
before. PwC’s conclusion in 2008 that COLB qualified for “sale” treatment hinged on “facts”
that were contradicted by documents provided to PWC and by conclusions reached by PwC
auditors years before. The conclusion Was not driven by objectivity, independence and

professional skepticism - as required under professional standards - but rather PwC’s own self-

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serving desire to avoid reaching a conclusion that could otherwise expose the flaws in PwC’s
year-end 2007 (and prior) audits and further expose PWC to liability.

34. But for PwC’s prior audit failures and accounting gymnastics the COLB “loans
held for sale” assets on BancGroup’s balance sheet as of year-end 2007 and spring of 2008
Would have been re-classified as “loans” and BancGroup would have been deemed to have been
in violation of its legal lending limits and answerable to state and federal banking regulators
This, in turn, would have immediately exposed the underlying fraud in the Taylor Bean portfolio
and reduced the ability of Taylor Bean to expand and conceal the fraud.

35. lmportantly, and in addition to its warehouse line of credit and the COLB facility,
in 2004, Taylor Bean was provided access to additional funds under a separate facility known as
the “AOT” or “assignment of trade” facility. Similar to the COLB facility, PWC concluded that
advances under the AOT facility could be treated as “sales” under FAS 140 Whereby BancGroup
was again deemed to have “purchased” a 99% interest in a pool of mortgage loans Which were
supposedly pre-committed for sale to an end investor. PwC blessed this sales accounting
treatment year after year without ever performing any work to evaluate whether the underlying
AOT transaction documents did, in fact, give rise to a “sale” under FAS 140.

36. Upon information and belief, by 2007, the total amount of financing and
` purchases collectively outstanding to 'l`aylor Bean under these contractual interim-funding
arrangements was approximately $3.5 billion. This amount represented a large majority of the
$4.3 billion in total MWLD assets that BancGroup reported in its PwC-audited year-end
financial statements Unfortunately, nearly half of the loans allegedly securing the Taylor Bean
obligations and identified on BancGroup’s financial statements were fictitious or already pledged

to third parties and, therefore, utterly worthless

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C. Under ch And Crowe’s Watch. A Fraud Is Perpetrated Against Bancgroup
And ColonialBanklResultin ,In, The Fundin And Recoi:din Of More Than
§1.8 Billion In Worthless Or Non-Existent Loans Over A Period Of Seven

Years

 

 

1. Taylor Bean’s Initial Ovérdrafts and Sweeging
37. Beginning in 1998, Taylor Bean established a lending and banking relationship

with the MWLD. This relationship ultimately included the establishment of Taylor Bean
operating and escrow accounts with Colonial Bank.

38. Unknown to BancGroup, in 2002 Fannie Mae found that irregularities existed in
the way that 'l`aylor Bean was conducting its business and, as a result, Fannie Mae terminated its
business relationship with Taylor Bean which, among other things meant that it would no longer
purchase loans originated by Taylor Bean. As a result of the termination by Fannie Mae, Taylor
Bean began experiencing financial difficulties resulting in overdrafts in Taylor Bean’s operating
account caused by its lack of funds to make payroll, cover operating expenses and pay
obligations to third-party banks known as “pair offs” relating to loan originations. These
overdrafts were initially in the tens of millions of dollars each day, but rapidly grew in
magnitude during 2002 and 2003. Importantly, during the process of conducting its 2002 audit,
Defendant PWC was made aware of the termination of the relationship between Fannie Mae and
Taylor Bean.

39. ' With the assistance of Cathie Kissick (“Kissick”), the‘director of the MWLD; and

~certain individuals working for Colonial Bank at Kissick’s instruction, the overdra&s by Farkas
and Taylor Bean were concealed from BancGroup, its Board of Directors and its Audit

Committee. (Kissick (and those acting at her direction) and Farkas are hereinafter referred to as

the “Adverse Parties”).

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40. The Adverse Parties were acting in their own interests adversely to the interests
of BancGroup and were engaged in committing independent fraudulent acts as they looted the
assets of BancGroup for their own benefit The actions of these Adverse Parties were directly
and completely adverse to the corporate interests of BancGroup. The Adverse Parties did not
include any director, officer or employee of BancGroup and had no authority to act on behalf of
BancGroup. No director, officer, or employee of BancGroup, including, without limitation, any
member of BancGroup’s Audit Committee, participated in the fraudulent scheme conducted by
the Adverse Parties and the directors officers and employees of BancGroup only became aware
of such scheme, and the damages resulting therefrom, in connection with the actions taken in
August 2009 by government agents to seize the records of Taylor Bean and the MWLD. To the
extent any information requested by either PwC or Crowe relating to the MWLD or otherwise
was inaccurate in part or Whole, such information was provided by the Adverse Parties not by a
director, officer, or employee of BancGroup, and did not constitute an act of BancGroup. PWC
and Crowe always had full access to BancGroup’s accounting and reporting records and systems
and nobody at BancGroup ever interfered with the ability of PwC and Crowe to perform their
respective audits and to properly discharge their respective professional duties and obligations

41. The Adverse Parties attempted to conceal the overdrafts by moving the overdrafts
around to other accounts “sweeping” _Taylor Bean’s account and engaging in a pattern of
“kiting”_whereby debits and credits to 'l`aylor Bean’s account were timed in a manner designed

to conceal the overdrafts

2. Taylor Bean’s Overdraft is Moved to COLB Facili§y.

42. By the end of 2003, Taylor Bean’s overdraft at Colonial Bank reached a daily
balance of approximately $lSO million The overdrafts in Taylor Bean’ s account had grown so

large that the Adverse Parties grew concerned that they would no longer be able to conceal the

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fraud. The Adverse Parties then determined to eliminate the overdraft in its entirety by making
an advance under the newly created “COLB” facility based on fictitious mortgages referred to as
“Plan B” loans

43. As previously alleged, the COLB account was a facility where individual loans
were carried and reflected as “Loans Held For Sale” on BancGroup’s balance sheet until such
time as the sale of the loan to the end investor had been consummated To obtain the advance on
the COLB account, Taylor Bean would transfer fictitious Plan B mortgage pool data as
“collateral” for these advances Upon information and belief, from late November to December
of 2003, Colonial Bank made advances under the COLB facility to Taylor Bean in the
approximate amount of $150 million. ln connection with these advances Taylor Bean provided
fictitious Plan B mortgage loan data which was placed on the books of BancGroup to justify the
fraudulent advances The “loans” were carried on BancGroup’s books even though, in reality,
they did not exist and, therefore, could never be “sold” to any end investor.

44. As Taylor Bean’s cash flow further deteriorated, 'l`aylor Bean’s operating shortfall
was covered by fraudulent advances under the COLB facility, resulting in an ever-growing
balance in Taylor Bean’s COLB account. ln an attempt to justify this balance on the books of
BancGroup, Taylor Bean continued to provide fraudulent mortgage loan data relating to an
expanding and evolving list of Plan B loans and other seriously deficient, sub-standard loans _
originated by Taylor Bean, which did not qualify for sale to the secondary mortgage market and
were euphemistically referred to by the Adverse Parties as the “Crap” loans

45. With the passage of time, the Adverse Parties would also “refresh” the fraudulent

data relating to the Plan B loans and Crap loans to avoid the appearance that the loans were aging

past expected sale dates

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46. Among other things PwC’s external audits and Crowe’s internal audits of the
MWLD should have carefully tested the assertion of the existence of these mortgage loans and
resulted in the detection of the fraud embedded in the COLB account

3. Taylor Bean’s Fraudulent COLB Balance is Moved to AOT Facili_ty

47. By late 2004, the size of Taylor Bean’s fraudulent COLB balance and the number
of “Plan B” and “Crap” loans on BancGroup’s books began to grow exponentially. To further
conceal the growing fraud, the Adverse Parties moved the fraudulent balance into the new

created “Assignment of Trade” or “AOT” facility for which only Taylor Bean was an approved

customer-.

48. As previously alleged, under tlie AOT facility, Colonial Bank would purchase
99% participation interests in allegedly qualifying pools of mortgages which were required to be
subject to existing, enforceable takeout commitments to third party agency investors As a
condition of such purchases Taylor Bean was required in most circumstances to deliver to the
custodial department of Colonial Bank the underlying collateral packages evidencing the
mortgage loans in the pool and deliver to Colonial Bank, as the purchaser of the participation
interest, (i) the authenticated participation certificates (which were to include the schedule of
documents to be found in the custody department), (ii) an executed “Takeout Commitment” from
the investor who had committed to purchase the pool of mortgages and (iii) the fully executed
“Assignment of the Takeout Commitment.”

49. The supposed purchases under the AOT facility Were reported as a separate asset
category referred to on BancGroup’s consolidated financial statement as “Securities Purchased
Under Agreements to Resell.”

50. Upon information and belief, by the end of 2007, the fraudulent balance on

BancGroup’s books for the AOT account exceeded $1.5 billion - all of which stemmed from

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funds advanced to 'l`aylor Bean. By 2009, $1.6 billion of so-called Taylor Bean Plan B and Crap
“loans” remained on BancGroup’s books

51. Even after the fraudulent Taylor Bean balances were moved to the AOT facility
and account, Taylor Bean also began to obtain additional advances under the COLB facility
based on double pledged, fictitious and/or non-qualifying mortgage loans

52. As set forth herein, PwC’s and Crowe’s audits were grossly negligent and, in
many instances reckless in failing to detect the ongoing fraud and also in affirmatively
facilitating the expansion of the fraud. including, without limitation, in the case of PwC, blessing
and perpetuating an improper accounting treatment that massively expanded the amount of
MWLD funding that Taylor Bean could access As a result of such negligence and recklessness
the members of BancGroup’s Board of Directors and Audit Committee Were left with the false
impression that the MWLD was a sound, profitable business and that the billions of dollars of
“Securities Purchased Under Agreements to Resell” (i.e. “AOT”) and “Loans Held for Sale” (i.e.
“COLB”) reported on BancGroup’s balance sheet actually existed and had the value reported in
BancGroup’s financial statements 'l`he Board of Directors and Audit Committee also believed
that binding commitments with third party investors really existed, thereby assuring that
BancGroup would suffer little if any loss relating to those assets ln fact, as PwC and Crowe
knew or should have known throughout the course of_ their audits debts and_ expenses were being _ g
incurred by BancGroup and_funds were being downstreamed by BancGroup to Colonial Bank n

uselessly and without knowledge of the BancGroup’s financial condition, all to the detriment of

BancGroup.

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D_. ch And Crowe’s Wrongful Conduct Perpetuates The Fraud And Conceals
Massive Losses In The MWLD

 

53. The fraud perpetrated on BancGroup could only be accomplished because the
audit failures by PwC and Crowe became so predictable and significant that PWC and Crowe
effectively provided a roadmap for the Adverse Parties to commit and perpetrate the fraud and
the sale accounting treatment approved by PwC allowed Taylor Bean and the Adverse Parties to
continue, conceal and expand the magnitude of the fraud, In fact, the fraud would have been
detected had PWC and Crowe discharged their professional responsibilities

54. PwC and Crowe never obtained a basic understanding of the MWLD and the
transactions which gave rise to the assets reflected in the AOT and COLB accounts In violation
of their professional duties including, but not limited to, their duties to exercise due care,
professional skepticism, and independence, PwC and Crowe failed to design and apply basic
audit procedures to obtain the audit evidence required to address the risks specifically identified
in its respective workpapers

55. In any given audit year, both PwC and Crowe understood that most of the billions
of dollars worth of MWLD assets reported in BancGroup’s financial statements related to funds
advanced to Taylor Bean which were purportedly secured by loans originated by Taylor Bean
and/or the subject of a participation purchase for which there was a takeout commitmentl Yet
PwC’s and Cro'we’s audits are devoid of any meaningful testing, especially as such testing
relates to the TBW COLB account or the AOT account which~became the ultimate repository for
hundreds of millions of dollars of fraudulent Taylor Bean “loans.”

56. The failure of Crowe and PWC to gain an understanding of the MWLD
transactions including the AOT facility with Taylor Bean, started at the top. Neither PwC’s

audit engagement leader Gary Westbrook nor anyone.else at PwC ever bothered to evaluate the

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contractual agreements relating to the AOT facility to gain an understanding of the AOT facility.
Similarly, Crowe’s engagement partner, Michael Thomas, who was in charge of Crowe’s
internal audit of the MWLD, had never even heard of the AOT facility until a few weeks prior to
providing sworn testimony during a Rule 2004 examination conducted in BancGroup’s
bankruptcy proceeding

57. Nowhere is this lack of understanding more apparent than in each firm’s audit
“testing” or lack thereof. By way of example (and as set forth more fully herein), Crowe
recklessly turned a blind eye to the potential for fraud by selectively avoiding the collateral
testing with respect to any COLB and/or AOT loan that was originated by Taylor Bean or
performing any procedures whatsoever to test the internal controls relating to the AOT facility
with Taylor Bean despite the high concentration of Taylor Bean loans in the COLB and AOT
accounts

58. Despite their obvious significance to BancGroup’s financial statements and even
though both were the product of the complex “sale” accounting treatment that PwC blessed year
l after year, PWC similarly avoided performing any real substantive testing of the COLB (“loans
held for sale”) and/or AOT (“securities purchased under agreements to resell”) account balances
until 2008 when PwC’s senior manager and “Fraud Policy Coordinator” suddenly became much
more interested in PwC’s audit work _as it related to v'l`aylo_r Bean and the AOT and `COLB
facilities As discussed more fully herein, PwC’s expanded audit turned up information which
clearly suggested the potential for fraud surrounding Taylor Bean and the AOT account lnstead l
of inquiring any further or performing any additional testing, PwC disregarded the red flags and

adopted a position that PwC need not be concerned with these danger signals

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59. These audit failures are especially reckless because PWC and Crowe were fully
cognizant of the explosive growth in the MWLD. PwC and Crowe were both aware of the high
operational risk and the “potential for customer fraud” that existed in the MWLD. This risk was
significantly magnified by the extremely high concentration of Taylor Bean loans (totaling in the
billions of dollars) purportedly backing the AOT and COLB assets on BancGroup’s financial
statements PwC and Crowe also knew that AOT, which related solely to participation interests
purchased from Taylor Bean, had grown from $605 million as of year-end 2006 to over $1.5
billion by year-end 2007, in stark contrast to PwC’s expectation that there would be a slowdown
in the MWLD area during 2007.

60. BancGroup applied to the United States Department of Treasury to receive funds
under the Troubled Asset Relief Program (“TARP”). Unlike PwC and Crowe, who had
collectively been paid many millions of dollars by BancGroup over the course of the previous
seven years federal investigators with the Office of the Special inspector General for the
Troubled Asset Relief Program (SIGTARP) discovered the problems at Taylor Bean.

61. ln early August 2009, the naud was exposed Any hope that BancGroup had of
obtaining assistance under TARP evaporated On August 14, 2009, regulators closed Colonial
Bank and seized its assets BancGroup’s bankruptcy petition followed eleven days later.

g 62._ H_ad PwC and Crowe properly discharged their professional duties»the fraud and
improper sales accounting treatment would have been disclosed to BancGroup and the public by
no later than late 2007 or early 2008 (at the conclusion of each firm’s 2007 audit or in the
context of the OCC’s inquiries) at which time the Taylor Bean AOT account balance had
ballooned to nearly $1.6 billion. Had this gaping hole in BancGroup’s balance sheet been

exposed at that time and/or had PwC not manufactured evidence to continue justifying “sale”

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treatment of the COLB loans under FAS 140 (and not ignored the issue altogether as it related to
AOT), BancGroup, and its Board of Directors (and likely banking regulators) could have and
would have taken measures to protect BancGroup, including, but not limited to, drastically
altering the business in light of BancGroup’s true financial condition and/or placing BancGroup
into bankruptcy at that point in time.

d 63. Unaware of such fraud and the true state of the financial condition of BancGroup
and Colonial Bank, BancGroup downstreamed more than $500,000,000 from the second quarter
of 2008 through the second quarter of 2009 to Colonial Bank which was troubled, insolvent
and/or subject to closure at the time of each transfer as a result, in substantial part, of the ongoing
fraud in the MWLD and PwC’s and Crowe’s failure to detect the fraud During this same time
period, BancGroup also expended substantial funds and incurred substantial additional debt
which, had it known of the fraud and the true state of its financial condition, it would not, and
could not, have expended or incurred BancGroup’s downstreaming of funds to Colonial Bank,
incurrence of additional debt and additional expenditures of funds had the direct and immediate
impact at the time of each such event of deepening the insolvency of BancGroup and damaging
BancGroup’s financial position. BancGroup was also damaged in an amount equal to the
millions of dollars paid to both Crowe and PwC for audit services provided over the years of
their engagement letters when each Defendant failed to discharge their professional duties and
properly perform the service for which they were engaged

64. By the time the fraud was exposed in 2009, BancGroup was left with hundreds of
millions of dollars in worthless or non-existent assets on its balance sheet and substantially more
indebtedness Unable to take any corrective steps or obtain any federal assistance, and left with

no ability to raise fiinds by other means BancGroup had no choice but to file for bankruptcy

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protection BancGroup’s damages which continue to be assessed and determined, exceed

$500,000,000.

IN BREACH OF THE PROFESSIONAL DUTIES OWED TO BAN,CGROUP ,
PWC’S AUDITS VIOLATED GAAS AND SERVED TO CONCEAL THE SEVEN-

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YEAR FRAUD FROM BANCGROUP

IV.

 
 

 

65. Between 2002 and 2009, BancGroup engaged PwC to perform “integrated” audits
meaning PwC was engaged to audit BancGroup’s financial statements and also to audit
BancGroup’s internal controls over financial reporting, which included financial reporting over

the MWLD.

 

ch?s.Duties As"Proscribed B The Bublic Com ran 3 Accountin‘ Oversi ~ht
Board And GAA'SiAs Réflected fn Defendants’ Own En a emen`t Letters

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66. PWC owed BancGroup - a public company ~ a duty to perform each of its
integrated audits of BancGroup in accordance with various auditing standards adopted by the
Public Company Accounting Oversight Board (the “PCAOB”) as well as the AICPA Code of
Professional Conduct.

67. PCAOB standards required PWC to conduct its integrated audits of BancGroup in
accordance with generally accepted auditing standards (“GAAS”) as promulgated by the
American lnstitute of Certified Public Accountants to the extent those standards Were not in
conflict with any new auditing standard (“AS”) promulgated by the PCAOB.1

68. ` There are 10 GAAS` standards promulgated by the American lnstitute of Certified
Public Accountants (“AICPA”) as described in AU § 150: three General Standards three

Standards of Field Work, and four Standards of` Reporting. Those standards are as follows:

 

1 Given the relationship between PCAOB and GAAS standards this Complaint Will use
GAAS and P.CAOB interchangeably when referring to the standards which governed PwC’s
audits of BancGroup.

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General Standards

1. The audit is to be performed by a person or persons having
adequate technical training and proficiency as an auditor.

2. In all matters reliant related to the assignment, an
independence of mental attitude is to be maintained by the
auditor or auditors

3. Due professional care is to be exercised in the performance of`
the audit and the preparation of the report.

Standards ofField Work

1. That the work is to be adequately planned and assistants if
any, are to be properly supervised

2. That sufficient understanding of internal control is to be
obtained to plan the audit to determine the nature, timing, and
extent of tests to be performed

3. That sufficient competent evidential matter is to be obtained
through inspection, observation, inquiries and confirmation to
afford a reasonable basis for an opinion regarding the financial
statements under audit.

Standards of Reporting

l. The report shall state whether the financial statements are
presented in accordance with generally accepted accounting
principles

2. The report shall identify those circumstances in which such
principles have not been consistently observed in the current
period in relation to the preceding period

3. lnformative`disclosure in the financial statements are to `be
regarded as reasonably adequate unless otherwise stated in the
report.

4. The report shall contain either an expression of opinion

regarding the financial statements taken as a whole, or an
assertion to the effect that an opinion cannot be expressed
When an overall opinion cannot be expressed, the reasons
therefore should be stated ln all cases where an auditor’s name

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is associated with financial statements the report should contain
a clear-cut indication of the character of the auditor’s work, if
any, and the degree of responsibility the auditor is taking

69. PCAOB (and GAAS) standards also require PwC to comply with all of the
Statements on Auditing Standards (“SAS”), issued by the Auditing Standards Board of the
AICPA as well as the Principles of Ethical Conduct and various other standards promulgated by
the AICPA.

70. PwC’s duties under PCAOB (and GAAS) standards included, without limitation,
the following: (1) the duty to remain independent (AU § 220); (2) the duty to exercise due
professional care including, but not limited to, the duty to exercise professional skepticism in the
conduct of its audits (AU § 230); (3) the duty to properly plan and supervise the audits; (4) the
duty to obtain sufficient competent evidential matter (including independent corroboration of
management representations) to support the assertions made in the financial statements and
control risk assessments and the concomitant duty to document that evidence and as well as any
all significant audit issues in PwC’s workpapers (See AU §§ 326, 342 and AS Nos 3 and 5); (5)
the duty to evaluate the risk of fraud and the potential that BancGroup’s financial statements
might be material misstated as a result of such fraud as well as the duty to plan and perform its
audits with the purpose of detecting fraud (AU § 316); (6) the duty to communicate material
weaknesses and/or significant deficiencies in BancGroup’s internal control structure (AU § 325);
(7) the duty to report departures from generally accepted accounting principles (“GAAP”) (AU §
380); (8) the duty to report adjustments arising from the audit as well as any uncorrected

misstatements (AU § 380); and (9) the duty to issue a report that accurately reflects the findings

made during its audits (AU § 508).

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71. In performing its audits of BancGroup, PWC was also specifically required to
evaluate the potential for fraud, and it was PwC’s “responsibility to plan and perform the audit to
obtain reasonable assurance about whether the financial statements are free of material
misstatement, whether caused by error or fraud.” (AU § 316). In this regard, GAAS required
PWC to, among other things, conduct its integrated audits at all times with the mindset that fraud
was possible. This mindset was especially critical in connection with the BancGroup audits
because PwC had blessed the FAS 140 “sale” treatment with respect to the COLB and AOT
facilities which greatly expanded the MWLD’s business relationship with Taylor Bean and the
risk of loss that BancGroup would sustain as a result of any potential fraud by Taylor Bean.

72. Under AS No. 2 and its successor AS No. 5, which were effective at the time
PwC conducted its 2007 and prior audits, PWC was also required to identify and audit significant
accounts and disclosures and their relevant assertions and the business processes relating to each
of those accounts, and, in so doing, “evaluate the qualitative and quantitative risk factors related
to the financial statement line items and disclosures.” Risk factors relevant to the identification
of` significant accounts and disclosures and their relevant assertions include:

0 Size and composition of the account;

¢ Susceptibility to misstatement due to errors or fraud;

¢ Volume of activity,_ complexity, and homogeneity of` the individual

0 Transacti_ons processed through the account or reflected in the disclosure
0 Nature of the account or disclosure; and

¢ Accounting and reporting complexities associated with the account or

disclosure

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In conducting an audit in accordance with PCAOB standards, PWC also knew or should have
known that it was required to consult audit guides published by the AICPA which were
specifically applicable to audits of banks, including, but not limited to, the “Audit and
Accounting Guide: Depository and Lending lnstitutions: Banks and Savings Institutions, Credit
Unions, Finance Companies and Mortgage Companies.”

73. The professional duties that PwC owed BancGroup are also reflected in each of
the engagement letters provided to BancGroup. PwC understood that BancGroup, including its
Boards of Directors and Audit Committee, were entitled to rely upon the representations and
covenants made by PwC in each of its engagement letters and did, in fact, intend such reliance

74. BancGroup and its Board of Directors did, in fact, reasonably and justifiably rely
on the representations made by PwC in each of its engagement letters, including, but not limited
to, the representations and covenants that PwC would perform its audits of BancGroup’s in
accordance with PCAOB standards for the purpose of determining whether BancGroup’s
financial statements conformed with GAAP, would test BancGroup’s accounting records, and
would communicate any deficiencies in internal control or any evidence of fraud which came to
its attention.

75. PWC failed to conduct its integrated audits in accordance with PCAOB standards
in violation of the duty of due professional care owed to BancGroup and in breach of its

_ engagement agreement with BancGroup.

76. PwC’s audit failures include, but are not limited to, the following: (l) the failure
to exercise due care in the performance of its audits; (2) the failure to properly plan and
supervise its audits, including the failure to gain an understanding of BancGroup and its MWLD;

(3) the failure to exercise professional skepticism; (4) the failure to increase the scope of its

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audits in light of the facts and circumstances known to PWC to ensure that PwC’s audits Were
supported by competent evidential matter; (5) the failure to adequately address the risk of
material misstatement due to fraud and to properly investigate evidence which should have
alerted PWC to the possibility that BancGroup’s financial statements were, in fact, materially
misstated as a result of such fraud; (7) the failure to identify key controls relating to significant
accounts/businesses processes and the related failure to disclose material weaknesses or
significant deficiencies in BancGroup’s control structure to BancGroup’s Board of Directors and
Audit Committee so that corrective actions could be taken; and (8) the issuance of “clean” or
unqualified audit reports when PwC knew or should have known that its audits did not comply
with GAAS and that a qualified opinion was required.

B. ch’s Recl_gless Audits And Numerous Audit Failures Lead T,o The Material

Misstatement Of Bancgroup’s .Financial Statemcnts And ch’s Failure To
Detect Fraud In The Financial chorting 111-Banch roug’s MWLD

77. As previously discussed, the MWLD was in the business of extending credit to
and purchasing participation interests from mortgage originators, including Taylor Bean, for the
interim financing of residential mortgage loans until such time as the contractually pre~arranged
sales of the underlying loans and/or “securities” to third parties had been completed

78. Between 2003 and 2009, BancGroup’s balance sheet included three main types of
MWLD assets:"‘Morvtgage Warehouse Loa_ns,”y “)Loans Held F or ySale,"’ (hereinafter also referred
to as “COLB” loans) and “Securities Purchased Under Agreements to Resell” (hereinafter also
referred to as “AOT.”). v 4

79. The “Mortgage Warehouse Loan” assets related to BancGroup’s warehouse lines
of credit which were periodically used by mortgage companies such as Taylor Bean to finance

operating expenses and residential home loans secured by first mortgages

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80. As noted above, the “Loans Held For Sale” assets reflected in the COLB account
represented a secondary source of financing for loan originators who may have, for example,
exceeded the limits under a pre-existing warehouse line of credit. BancGroup would provide
interim funding under the COLB facility to mortgage originators such as Taylor Bean with the
understanding and on the condition that binding and enforceable commitments with third-party
end investors existed to purchase those loans. As previously alleged, with PwC’s blessing,
advances made under the COLB facility were treated as “sales” for accounting purposes under
FAS 140 such that BancGroup was deemed to be “purchasing” a 99% participation interest in the
loans that Taylor Bean was originating Thus, instead of recording a loan on its books, these
99% participation interests that were “purchased” under COLB were carried on BancGroup’s
balance sheet as “Loans Held For Sale” pending completion of the sale of the loan to the end
investor.

81. Similar to the “Loans Held for Sale” (COLB), the “Assignment of Trade” or AOT
facility also represented a secondary source of financing for the origination of loans. However,
unlike COLB, this type of facility was only available to Taylor Bean. As PWC knew or should
have known, under the AOT facility, Colonial Bank would purchase 99% participation interests
in allegedly qualifying pools of mortgages which were required to be subject to existing,
enforceable takeout commitments to third party buyers. As a condition of certain such purchases,
Taylor Bean was required_to deliver to the custodial department of Colonial Bank the underlying
collateral packages evidencing the mortgage loans in the pool and deliver to Colonial Bank, as
the purchaser of the participation interest, (i) the authenticated participation certificates (which

were to include the schedule of documents to be found in the custody department), (ii) an

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executed “'l`akeout Commitment” from the takeout buyer who had committed to purchase the
pool of mortgages, and (iii) the fully executed “Takeout Commitment Assignment.”

82. Similar to the COLB loans, AO'l` transactions with Taylor Bean were treated as
“sales” such that BancGroup was deemed to be “purchasing” a 99% participation interest in a
pool of yet to be securitized mortgage loans Thus, instead of recording a loan on its books, these
99% participation interests were “purchased” under AOT were carried on BancGroup’s balance
sheet as “Securities Purchased (from Taylor Bean) under Agreements to Resell” pending the
ultimate sale of the “securities” to the supposed takeout buyer.

During the time that PwC conducted its audits, the reported assets that arose nom

83.

MWLD’s COLB and AOT facility and the Taylor Bean AOT facility experienced significant

growth, as follows:

 

 

 

 

 

 

 

 

 

 

 

 

2003 2004 2005 2006 2007 , 2008
Mortgage 982.4M` $l.llB ' 483.7M 281.9M $290.6M $731.1M
Warehouse Loans
Loans Heldfor 378.2M $678M $1.09B '$l.47B $l.54B `$Z.OSB
Sale (COLB)
'Securities ',246.4M $589.91\/[ $605.91\/1 Sl.55B $l.SSB
Purchased Under '-~-----'~'-
Agreements to
Resell(MWLD-
AOT.) t
Total `$1.36B `$1.99B $2.13B SZ.SIB $3.38B $4.36B

 

1. PwC Undcrstood- that the 0 irrational Risk Associatcd with Auditin

the MWLD was High and also that it Needed to Design `Audit

Procedures Which Mitigated the Risk of Customer Fraud

84.

should have been guided, at least, in part by PwC’s own assessment of risk and the facts and

circumstances which were known at the time PWC conducted its audits.

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The scope of the audit procedures applied by PWC to the COLB and AOT lines

 

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85. PwC understood that BancGroup was a rapidly growing financial institution that
conducted the majority of its operations in Florida and that BancGroup’s MWLD was
significant

86. PWC knew or should have known that its audit of BancGroup presented certain
characteristics or circumstances that increased the susceptibility of BancGroup’s assets to
misappropriation (AU § 316). For example, PWC knew that the MWLD handled large amounts
of cash and that the cash was being used to fund large volumes of loans which were not always
easily identifiable This was especially true because, as previously alleged, PwC concluded that
the COLB LPSA and AOT transactions with Taylor Bean qualified as “sales” for accounting
purposes under FAS 140. ln doing so, PwC effectively facilitated a massive expansion of the
MWLD’s business relationship with Taylor Bean including a substantial increase in the number
and dollar volume of transactions with 'l`aylor Bean and enhanced the ability of the Adverse
Parties to conceal the fraud,

87. PwC also understood that the operational risk in BancGroup’s MWLD was “high”
because the volume and magnitude of the transactions gave rise to the very real potential for
customer fraud - that is to say fraud by mortgage brokers such as Taylor Bean who lacked their
own funds, who depended upon loan volume to remain profitable and who, therefore, had little
interest in the quality and integrity of the underlying loan process. The risk that fraudulent or
“double sold” loan advance requests might be funded by the MWLD and that BancGroup might
otherwise be carrying “fictitious loans” on its balance sheet was a very real risk against which
PWC was required to audit.

88. With regard to the MWLD’s COLB and AOT assets, PWC understood that the

biggest risk facing BancGroup was not necessarily credit risk relating to the valuation of those

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assets (though this was obviously a concern), but rather the very real risk that those assets, and
the underlying loans, did not exist because the amounts advanced or paid by BancGroup Were
not actually being used to fund mortgage loans, but rather were being misappropriated by the
MWLD mortgage broker customers, including its largest customer Taylor Bean. In light of these
known risks, PwC’s audit of the COLB and AOT account balances should have included basic
audit testing, akin to that applied to an audit of inventory of a wholesaler, to gain reasonable
assurance that the inventory of mortgage loans supposedly backing the AOT and COLB balances
actually existed.

89. Here, PwC’s awareness of the risk of customer fraud in the MWLD and the
manner in which it might address that risk through the audit process was further colored by its
knowledge that COLB and AOT accounts were largely concentrated in a single customer, Taylor
Bean.

90. Indeed, during each of the years that PwC conducted its audits, PwC understood
that approximately 50% or more of the COLB loans “held for sale” and carried on BancGroup’s
balance sheet related to the funding of residential horne loans that were originated by Taylor
Bean, supposedly secured by the underlying loan collateral (i.e. first mortgage) and supposedly
re-sold to a third party.

9l._ In addition to the_approximately 50% concentration in the COLB line, PwC knew

" that Taylor Bean was the only mortgage broker who was approved under the AOT facility with
the MWLDt PWC understood that the entirety of` the MWLD’s AOT asset related to transactions
with Taylor Bean in which Colonial Bank would purchase 99% participation interests in
allegedly qualifying pools of mortgages which were required to be subject to existing,

enforceable takeout commitments to third-party agency investors PWC also knew that billions of

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dollars in BancGroup’s reported AOT and COLB assets were tied directly to transactions with
Taylor Bean.

92. Upon information and belief`, the amount transferred to Taylor Bean in connection
with the COLB and AOT accounts in fiscal years 2003 through 2005 is proportional to the
amounts advanced in 2006, 2007, and 2008.

93. Thus, at the time PWC conducted its audits, it was not only aware that the AOT
and COLB balances were increasing at a rapid clip, jumping nearly five-fold between 2002 and
2007, but also that most of that growth in these assets was supposedly as a result of the financing
and/or acquisition of participation interests in pools of loans originated by Taylor Bean. PWC
knew that MWLD volume continued to increase despite its expectations that volumes would
decrease and even though PWC knew that Florida loan pipelines had slowed down; are where
most of the volume was supposedly coming from.

94. Increases in the AOT and COLB balances which defied PwC’s own expectations
should have caused PwC’s trained accountants to exercise even greater professional skepticism
with regard to those balances and the audit procedures it would apply to them.

95. As PwC understood, the MWLD was only intended to provide short-term interim
fimding, and the fact that the AOT and COLB balances were increasing or even remaining steady
_ in the face of_ expectations should have caused PwC’s trained auditors to greatly expand the _
scope of its audits to gain a further understanding of this apparent anomaly.

96. PWC failed to take any of these risks into account when conducting its audit of
BancGroup. Had PwC properly discharged the most fundamental duties of an auditor by, among
other things, gaining a full understanding of BancGroup’s MWLD business, exercising healthy

professional skepticism, performing audit procedures designed to address known risks, and

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basing its audits on sufficient competent evidence, rather than incompetent evidence (or a total
lack of evidence), PwC’s audits would have detected the fraud. Instead, PWC breached its

duties, and the fraud remained undetected for years.

2. PwC’s Auditors Lacked Mortgage Warehouse Lending Audit

Exnerience and Rccklesslv Failed to Gain that Understanding in
Violation of GAAS

97. Under GAAS (AU § 311), PwC was required to gain an understanding of
BancGroup’s business. In the context of its integrated audits of BancGroup, this means PwC
was required to gain an understanding of the entirety of BancGroup’s business, including the
business conducted by its Orlando-based MWLD and, perhaps more importantly, the nature of
the MWLD’s transactions with its largest “customer,” Taylor Bean.

98. PWC routinely assigned auditors to the BancGroup audits Who had no prior
experience Working on an audit involving a Warehouse lender, including recent college graduates
and even unlicensed interns who were still in college. To make matters worse, the individuals
who Were charged With supervising these young and/or inexperienced auditors, including PwC’s
audit engagement partner and manager, also had no prior experience working on an audit that
involved a warehouse lender. Thus, when PwC undertook to conduct the BancGroup audits, it
did so with an audit team that was collectively void of knowledge or experience relating to the
warehouse lending business orvthe types of funding structures and transactions that warehouse l
lenders utilize with their customers (e.g. COLB, AOT). As a result, without undertaking to
obtain that knowledge or involving persons with industry knowledge (which did not happen),
PwC and its Montgomery-based audit team had no basis upon which to plan, design and perform
an audit that would enable PwC to gain reasonable assurance that BancGroup’s financial

statements were not materially misstated as a result of a fraud being perpetrated by a MWLD

customer on BancGroup.

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99. In violation of GAAS, PWC failed to assign persons with sufficient industry
experience to the BancGroup audits, and those that Were involved in the audit recklessly failed to
gain an understanding of the MWLD and the significant COLB and AOT accounts and processes
sufficient to enable PWC to properly plan, design and execute an audit in accordance with
applicable professional standards

100. As it relates to AOT, PwC auditors never evaluated the underlying transaction
agreements to get an understanding of the manner in which the facility was supposed to work.

101. PwC’s failure to properly staff and supervise the BancGroup audits and its related
failure to gain an understanding of the MWLD, and in particular the process and mechanics of
the underlying COLB and AOT transactions with Taylor Bean, was particularly egregious and
inexcusable because PwC was supposed to be performing an “integrated audit,” which meant
that PwC was purportedly auditing both the underlying COLB and AOT account balances
(which were clearly significant) as Well as the internal controls relating to the recording of these

balances on BancGroup’s balance sheet.

3. PwC’s Audit '~l`estinsr. of BancGroup’s .MWLD, and the AOT'Account
Balance in Particular, was Grosslv Deficient Under PCAOB (And

GAAS! Standards

102. Under GAAS, an auditor is required to base its audit report on “sufficient
competent (or “appropriate”) audit evidence.” (AU § 326). The auditor is required to document
that evidence in its audit working papers which form “the written record of the basis for the

auditor’s conclusions . .’l (AS No. 3).
103. As set forth in AU § 230.07, “[d]ue professional care requires the auditor to

exercise professional skepticism” which is “an attitude that includes a questioning mind and a

critical assessment” of the evidence compiled by the auditor.

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104. GAAS did not allow PwC’s auditors to rely solely upon the representations of
management, including Cathie Kissick, in auditing the MWLD COLB and AO'l` asset balances
or to rely on anything less than persuasive evidence (AU §§ 333.02, 326).

105. The existence of fraud does not mitigate PwC’s duties under GAAS or its liability
for breaching those duties To the contrary, it was PwC’s “responsibility to plan and perform the
audit to obtain reasonable assurance about whether the financial statements are free of material
misstatement, whether caused by error or fraud.” (AU § 316).

106. Further, in conducting its audits of BancGroup, PWC was required to implement
audit procedures that specifically addressed the risks known by PwC at the time it conducted its
audits (AU § 318). In mitigating the known risk of potential customer fraud and the resultant
funding of “fictitious loans” by the MWLD, it was, therefore, imperative that PwC design and
implement audit procedures and tests that were specifically targeted at Taylor Bean (MWLD’s
largest customer by far) and the very existence of the loans and collateral purportedly originated
and sold to third party investors

107. Upon information and belief, the PwC auditors mostly responsible for auditing the
MWLD and the complex transactions associated with the MWLD, including the COLB and AOT
accounts for the 2002 through 2007 year-end audits, were Phillip Rivers and Susan Thompson,
both young and inexperienced staff auditors who were themselves in charge of overseeing 5a
group of even younger staff auditors and even interns who had yet to even graduate from college.

108. Notwithstanding thebillions of dollars in “Loans Held For Sale” and “Securities
Purchased Under Agreements to Resell” on BancGroup’s books as of fiscal years ended 2006
through 2007, PwC failed to comply with its duty to perform substantial audit testing and to

obtain the competent audit evidence that was necessary under GAAS.

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109. Under GAAS, “[c]onfirmation is the process of obtaining and evaluating a direct
communication from a third party in response to a request for information about a particular item
affecting financial statement assertions.” (AU § 330). it is one source of audit evidence that
may be obtained by an auditor.

110. An auditor is required to “exercise an appropriate level of professional skepticism
throughout the confirmation process.” (AU § 330). When “designing the confirmation requests,
the auditor should consider the assertion(s) being addressed and the factors that are likely to
affect the reliability of the confirmations”

lll. Significantly, under GAAS, the auditor’s “understancling of the client’s
arrangements and transactions with third parties is key to determining the information to be
confirmed The auditor should obtain an understanding of the substance of such arrangements
and transactions to determine the appropriate information to include on the continuation
request.” (AU § 330).

ll2. Under GAAS, an auditor is also at all times required to be in control of the
confirmation process In this regard, GAAS requires “direct communication between the
intended recipient and the auditor to minimize the possibility that the results Will be biased
because of interception and alteration of the confirmation requests or responses.” (AU § 330).

ll3. qu discussed above, due to the volume of transactions and magnitude of the
transactions P'wC understood that one of the biggest risks confronting the MWLD was the risk
of fraud by its customers who might otherwise attempt to borrow funds based on fictitious or
double-pledged loans, As a result, PWC knew or should have known that obtaining a
continuation from a customer such as Taylor Bean that the outstanding AOT and COLB

balances were accurate would do little to confirm the existence of the underlying asset including

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the underlying loan and do little to mitigate the risk of fraud. Had PwC fully grasped the nature
of the transactions which gave rise to the COLB and AOT balances, PwC would have sent
confirmations not just to Taylor Bean but rather also to the takeout buyers who supposedly had
already executed binding takeout commitments to purchase these loans from BancGroup. ln
violation of GAAS, PWC did not do this

114. As discussed above, by 2005, Farkas and the Adverse Parties had shifted all of the
bogus Plan B “loans” and Crap loans from the COLB account to the AOT account.
Notwithstanding the numerous red flags and risks surrounding the AOT account as previously
discussed herein, other than obtaining questionable and unreliable confirmations, PwC made
little or no effort to perform audit procedures that were designed to detect and mitigate against
the very significant risk of potential fraud by BancGroup’s MWLD’s largest COLB customer
and only AOT customer, Taylor Bean. Indeed, in many instances, it appears that PWC went out
of its way to avoid testing TBW originated loans,

115. PwC knew or should have known that it could not discharge its duties under
GAAS (including, but not limited to, AU § 316) and address the documented risk relating to
potential customer fraud and misappropriation of BancGroup’s assets without performing audit
tests to gain reasonable assurance that the inventory of Taylor Bean “loans” funded and
purchased by BancGroup actually existed. _

ll6. 4 PwC also could not rely on the work of BancGroup’s internal auditor as, Crowe,
as a substitute for discharging its duties under GAAS especially when, as set forth herein,
Crowe’s monitoring and testing of BancGroup’s MWLD internal controls were facially deficient
from the reports provided to PwC. Under GAAS, including, but not limited to, AU § 322,

“[e]ven though the internal auditors’ work may affect the auditor’s procedures, the auditor

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should perform procedures to obtain sufficient, appropriate evidential matter to support the
auditor’s report.” As a result of Crowe’s gross negligence, Crowe’s internal audit reports did not
provide that evidence

ll7. Year after year, PwC’s audit of the Orlando-based MWLD became predictably
flawed, and Farkas and the Adverse Parties exploited the gross deficiencies in PwC’s audits to
their benefit and to the great detriment of BancGroup. Had PwC discharged its professional
duties under PCAOB and GAAS standards by, among other things, exercising due care and the
appropriate level of professional skepticism, the fraud would have been detected and reported
earlier. A reasonable auditor discharging its duties under PCAOB GAAS would have exposed

the Taylor Bean fraud utilizing appropriate auditing procedures and techniques

 
    

PwC.w'asRe` 'u'ircd to'» uali cr Disclaim its Audit Re orts Because
among Other Thingsz it Knew, or Should Have Known, that it Lacked
Sufficient Comp_etent Evidential Matter Upon Which to Ba_se its

Ungualif"ied Audit Regor_t_s_
118. The PCAOB (and GAAS) standards require that the auditor issue a report

expressing an opinion as to the financial statements under audit or an assertion to the effect that
an opinion cannot be expressed When an opinion is not expressed, the auditor is required to

state the reasons therefore

ll9. As expressed in AU § 508.03, the auditor’s justification for expression of an
opinion “rests on the conformity of his audit with generally accepted auditing standards.” Stated
differently,` if an auditor knows or`should know that he has not performed an audit in accordance

with GAAS, the auditor is required to not express an opinion.

120. AU § 508.14 (effective at the time PwC conducted the BancGroup audits),

dictates that an auditor shall not express an opinion or state that the financial statements present

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fairly in accordance with GAAP if the auditor believes the statements contain a departure from
any accounting principle

l2l. As further expressed in AU § 508.20, under GAAS, an auditor is required to
qualify its audit report when “there is a lack of sufficient competent evidential matter or there are
restrictions on the scope of the audit that have led the auditor to conclude that he cannot express
an unqualified opinion,” or when the auditor believes “that the financial statements contain a
departure from GAAP.”

122. PwC misrepresented that it had conducted the BancGroup audits in accordance
with GAAS and that BancGroup’s financial statements were fairly stated in accordance with
GAAP and further gave BancGroup comfort with regard to its internal controls over financial
reporting PwC knew or should have known that its audits violated GAAS because, among other
things, its audits recklessly ignored the huge AOT and COLB balances and the risk of fraud
relating to those assets PwC, therefore, violated GAAS by issuing unqualified audit reports on
BancGroup’s year-end financial statements l

5. PwC’s Failed Audits and Unqualified Audit Reports and the

M're resentations Cont'a'i'ned 'l'.h`erein Conceai BancGrou "`s True

Financial Condition and the Ongoing Fraud From BancGroup and its

Board of Directors

   

123. As previously alleged, PwC was engaged to perform independent audits of the
4 financial statements of BancGroup and its subsidiaries for`the fiscal years ended 2002 through
2009. Beginning in 2004, PwC’s financial statement audits were integrated with audits of
BancGroup’s internal control structure.

124. At the conclusion of each of its audits, PwC issue a report that was addressed to
“Colonial BancGroup, its Board of Directors and its shareholders In its audit reports, PwC

made various representations regarding its audit and the financial condition of BancGroup.

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Substantially the same representations were made by PwC in its audit reports issued in
conjunction with its audits of BancGroup’s financial statements for the fiscal years ended
December 31, 2002, 2003, 2004, 2005, 2006, and 2008.

125. As set forth herein, unbeknownst to BancGroup, its Board, and management,
these representations were materially false and misleading in that PwC’s audits did not comport
with PCAOB standards (or GAAS) and BancGroup’s financial statements were, in fact,
materially misstated under GAAP.

126. PwC’s accumulated audit failures and the misrepresentations in PwC’s
unqualified audit reports concealed the fraud and the material misstatements in BancGroup’s
financial statements for each of the fiscal years ended December 31, 2002 through December 31,
2008. As a result of PwC’s wrongful conduct and the resulting failure to detect the fraud, well
over $1 .0 billion was transferred to Taylor Bean based on bogus Plan B and or severely impaired
Crap loans,

127. As a result of PwC’s malpractice and resulting unqualified audit reports,
BancGroup’s reported net income and financial condition during each of the periods audited by
PwC Were overstated

128. PwC’s failed audits and unqualified audit reports also resulted in numerous
materially inaccurate and incomplete disclosures in BancGroup’s financial statements

129. PwC’s failed audits and the unqualified audit reports issued at the conclusion of
those audits masked BancGroup’s true financial condition, and the true quality of the MWLD

asset portfolio and served to effectively conceal the fraud being perpetuated on BancGroup by

Taylor Bean and the Adverse Parties

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130. PwC knew or should have known that BancGroup’s Board of Directors and Audit
Committee members were foreseeable users of BancGroup’s respective financial statements and
would reasonably and justifiably rely upon BancGroup’s audited financial statements and the
audited financial statements in making business decisions on BancGroup’s behalf.

131. As a direct result of Defendants’ gross departures from PCAOB standards,
BancGroup’s true financial condition and the nature and extent of the fraud being perpetuated on
BancGroup was concealed from BancGroup, the Audit Committee and the Board of Directors
such that the Board was prevented from taking corrective action.

132. As a result of PwC’s numerous audit failures and misrepresentations and
BancGroup’s justifiable reliance upon those misrepresentations BancGroup sustained massive
financial harm, including, but not limited to, the deepening of BancGroup’s insolvency.
in VIOLATION oF I'rs our-ms ns BANCGRoUP’.s nitranth AUDI'ro'R

CROWE IS GROSSLY NEGLIGENT IN .FAILING 'I`O DETECT THE .MASSIVE
$1.8 BILLION FRAUD BEING PERPETRATED ON BANCGROUP

   

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133. The failures of BancGroup’s external auditor, PWC, were compounded by the

gross negligence of its internal auditor, Crowe, also one of the world’s largest accounting and

consulting firms

134. As set forth herein, between 2002 and 2009 BancGroup engaged Crowe to
implement and monitor internal rcontrols, including those controls specifically relating to

BancGroup’s mortgage warehouse lending division, and to help safeguard BancGroup’s bank

assets
A. Crowe’s Role And Its Duties As BancGroup’s Internal Auditor

135. ln its internal audit engagement letter dated April l9, 2005, Crowe made certain
representations and covenants regarding the nature and scope of the services it would provide to

BancGroup.

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136. Crowe’s internal audit engagement letters for fiscal years 2006, 2007, and 2008
contain substantially the same representations and covenants as those set forth in Crowe’s April
29, 2005 audit engagement letter.

137. In discharging its professional obligations as BancGroup’s internal auditor, Crowe
was required to comply with the Code of Professional Conduct and the Statements on Standards
for Consulting Services as promulgated by the AICPA. Among other things Crowe was
required to (i) discharge its duties with professional competence; (ii) exercise due professional
care; (iii) carefully plan and supervise the audit engagement; (iv) obtain sufficient relevant data
to afford a reasonable basis for conclusions or recommendations in relation to any professional
services performed; (v) accomplish the engagement objectives and (vi) do so with integrity and
objectivity. (CS § 100).

138. Crowe’s duties as BancGroup’s internal auditor are further explained under
GAAS, including, but not limited to, AU § 322, which states that “[i]nternal auditors are
responsible for providing analyses evaluations assurances recommendations and other
information to the entity’s management and board of directors or to others With equivalent
authority and responsibility.” As reflected in AU 322, an “irnportant responsibility of the
internal audit function” and, therefore, Crowe’s important responsibility in conjunction with its
, role as BancGroup’s internal auditor was “to monitor the performance of [BancGroup’s] c
controls.”

139. The nature and scope of Crowe’s duties as BancGroup’s internal auditor are
further reflected in standards promulgated by the lnstitute of Internal Auditors (“IIA”), which

impose numerous duties on accounting professionals such as Crowe who have undertaken to

provide internal audit services

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140. In order to maintain its required objectivity and independence, under the terms of
its engagement agreement, Crowe was required to report directly to a the “General Auditor,” an
individual employed by BancGroup. Crowe, not the General Auditor, was responsible for
preparing the original internal audit plan and for selecting and performing all of the audit testing
and samplingl Nobody at BancGroup placed any limitations on the scope of Crowe’s internal
audit or the tests that Crowe could or should perform and most certainly never restricted or
limited the scope of Crowe’s audits as it related to the MWLD and the AOT and COLB facilities
where the fraud was housed.

l4'l. Crowe’s audit duties included monitoring controls over Mortgage Warehouse
Lending activity, managing customer relationships processing and recording transactions
safeguarding assets and regulatory compliance

142. Having agreed to serve as BancGroup’s internal auditor and also agreeing to
monitor controls over Mortgage Warehouse Lending Activity, manage customer relationships
and to safeguard assets the scope of Crowe’s duties included performing testing of controls
relating to the MWLD’s AOT line of credit with Taylor Bean, an account which totaled more
than $l .5 billion by 2007 and which was clearly “material” to BancGroup’s financial statements

143. Crowe was grossly negligent (if not reckless) in failing to detect the massive fraud
in the MWLD and how nearly $1.8 billion had been funneled out of Colonial Bank to Taylor

Bean to fund or acquire “loans” which either did not exist or Taylor Bean did not have the right

to sell (e.g., double-pledged).

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B. Crowe Breached Its Professional Duties And Contractual Obligations

1. Crowe Understood that the Onerational Risk Within the MWLD Was

“~High” as a Result of the P'otential for Ct_lstomer Fragd and the
Misappropriation of Assg§§

 

 

144. In connection with its 2006/2007 internal audit, Crowe identified “Mortgage
Warehouse Lending” as a key business process which was focused on participating in nationally
syndicated credits and direct lending opportunities Crowe knew that MWLD credits are
collateralized by real estate mortgages on residential property and/or mortgage servicing rights
Crowe also knew that a significant improvement for the MWLD’s operations was the “ProMerit
Collateral Monitoring System,” which, as its name suggests helped the MWLD monitor loan
collateral in an effort to safeguard BancGroup’s assets

145. In connection with each internal audit engagement, Crowe analyzed BancGroup’s
major business processes and assigned a rating to the various risks which arose from that
process

146. Largely as a result of a rating risk that it assigned, Crowe determined that the
aggregate inherent risk assessment was deemed to be “High” in the MWLD.

147. Crowe knew or should have known of the risk that new or existing customers
could double pledge loans or produce fraudulent loans resulting in losses for the Bank and
increased reserve requirements going forward

148. Crowe also assessed the risk relating to the Bank’s electronic funds transfer-wire
transfer. Crowe determined that one of the significant risks relating to the funding process was
losses due to fraudulent transactions and that the operational inherent risk was high due to the
fact that BancGroup was exposed to losses due to fraudulent activity from both internal and
external parties Largely as a result of this conclusion, 'Crowe also deemed the aggregate

inherent risk assessment relating to the wire funding process to be hi gh.

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149. Upon information and belief, Crowe made these same determinations and reached
these same conclusions in connection with each of its other internal audits of BancGroup.

150. As previously discussed, during the time that Crowe conducted its internal audits
the MWLD, COLB and AOT facilities experienced explosive growth. Crowe also understood
that approximately 50% or more of the COLB loans “held for sale” and carried on BancGroup’s
balance sheet related to the funding of residential horne loans that were originated by Taylor
Bean. These loans were supposedly secured by the underlying loan collateral (i.e., first
mortgage) and subject to pre-arranged agreements by third parties to purchase the loans

151. ln addition to the approximately 50% concentration in the COLB line, Crowe
understood that Taylor Bean was the only mortgage broker who had access to the AOT facility
with the MWLD. Crowe, therefore, understood that the entirety of the MWLD’s AOT asset
related to transactions with Taylor Bean in which Colonial Bank would purchase 99%
participation interests in allegedly qualifying pools of mortgages which were required to be
subject to existing, enforceable takeout commitments to third-party takeout buyers Crowe,
therefore, knew that billions of dollars in BancGroup’s reported AO'l` and COLB assets were tied
directly to transactions with Taylor Bean.

152. Crowe knew or should have known that the huge amount of funds transferred to
and from Taylor Bean, on a daily basis and the volume of loans which those funds were
purportedly originating provided'l`aylor Bean with the opportunity to misappropriate funds

153. With this understanding and with billions of dollars in reported assets at risk,
Crowe could not discharge its professional duties or appropriately safeguard BancGroup’s assets

against the identified risk of customer fraud or fraud by internal or external parties without

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performing extensive testing of AOT and the “loans” which purportedly served to collateralize
that huge balance. Yet, Crowe undertook no such testing
154. Crowe was vested with the duty and responsibility to help implement and monitor
controls to help ensure that BancGroup’s assets were safe from the very risks identified by
Crowe. Crowe, however, was grossly negligent in discharging its professional and contractual
obligations and, as a result, the fraud went undetected for years Crowe’s wrongful conduct
resulted in substantial damages to BancGroup.
2. Crowe’ s Wrongful Conduct Including its Reckless and Slipshod

Monitorin and “T’e'stin ’~’ of I'nt'ernal Controls Relatin to AOT,y
Pernetuated and Concealed the Taylor Bean Frau_d_

     

155. Crowe was not merely negligent in the manner in which it discharged its
professional responsibilities Crowe acted with gross negligence and with a reckless disregard
for the safety of BancGroup’s financial well-being. ln fact, at times the “selectivity” in Crowe’s
testing _ which for some reason at times did not include any Taylor Bean loans - suggests that
Crowe was either oblivious to the identity of the MWLD’s largest customer or purposely chose
to exclude Taylor Bean from its testing

156. It is apparent that, in violation of its professional duties Crowe recklessly failed
to gain an understanding of the MWLD that was necessary to perform its audit, Indeed, Crowe
never truly understood_the nature‘of the MWLD’s loan transactions or»the assets which were
ultimately recorded as a result of those transactions

157. Crowe made no effort to understand the AOT facility into which the fraudulent
advances moved in 2005 and thereafter expanded Without an understanding of what AO'l` and
COLB asset balances were and how they were generated, Crowe was simply not in a position to
properly assess the risk relating to the MWLD, or to implement controls relating to these assets

or to monitor the controls that were in place as it promised to do.

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158. The testing performed by Crowe was not merely deficient Crowe may have
actually gone out of its way to avoid testing AOT or the Taylor Bean loans that were purportedly
backing the AOT and CGLB balances

159. In connection with its audit of the MWLD for 2006 and 2007, Crowe claimed to
have reviewed the system of internal controls (operational, financial reporting, and compliance
and performed tests) to determine if established controls were in place and functioning
effectively.

160. With the thousands of loans that were being originated by Taylor Bean (and other
customers) and funded by the MWLD, Crowe could not reasonably have reached the conclusion
that selecting a small number of loans would provide a representative sample or allow Crowe to
reach a conclusion with regard to any of these “tests” or the adequacy of the controls at the
MWLD. In view of the volume of loans funded by the MWLD, Crowe’s test “sample sizes”
alone, were reckless

161. Crowe’s tests did not adequately address the high operational inherent risk as it
related to the potential risk of fraud by Taylor Bean and other MWLD customers

162. Crowe knew that all advances made by the MWLD against the warehouse line of
credit and all loans were supposed to be supported by a collateral package, which included the
original loan note, a copy of the mortgage, and an assignment of that mortgage to Colonial. in
other words to the extent the MWLD funded or acquired an interest in a home loan (originated
by Taylor Bean) secured by a first mortgage and that loan was reflected in BancGroup’s
financial statements (either in COLB, AOT, or Warehouse Line of Credit), Crowe understood

that the underlying loan and collateral documents Were required to be maintained in the

document custody department

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163. During both its 2006-2007 (year-ended March 31, 2007) audit as well as its 2007-
2008 audit (year-ended March 31, 2008), Crowe obtained the Pipeline Report from BancGroup
for seven relationships and selected 20 loans for testing. Crowe purportedly reviewed the 20

collateral packages

l64. Crowe made no attempt in its testing to differentiate between the various facilities
offered by the MWLD. What is even more disturbing, however, is that of the 40 loans
“judgmentally selected” by Crowe for collateral testing in the course of its 2006 and 2007 audits
not a single one of them was a loan that was originated by Taylor Bean. In fact, Taylor Bean
was not even one of the 14 relationships which served as the universe for selecting those forty
loans in the course of Crowe’s 2006 and 2007 audits

165. Crowe knew that the MWLD’s relationship with 'l`aylor Bean was its most
significant relationship, and its workpapers reflect that Crowe understood that the entire AOT
asset balance reported on BancGroup’s financial statements totaling over 32.0 billion as of year-
end 2007 were purportedly backed by Taylor Bean-originated mortgage loans

166. Had Crowe selected a representative sample of AOT “loans” and requested the
collateral packages for those loans, Crowe would have discovered a big problem - specifically
that for many of the so-called “loans” originated by Taylor Bean, there was no mortgage or note
or any otherdocurnenta_tion which supp_orted*the existence of the loan or the value reported in
BancGroup’s financial statements

167. ln addition to collateral testing, there were other tools available to Crowe, For
example, Crowe was aware of the risk of double pledging and the existence of an “lntercreditor

Agreement” that acknowledged each bank that extended credit to the borrower could share

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information back and forth to help ensure that a mortgage was not used to obtain an advance
from that one lender at any one time or assign any collateral documents to more than one lender.

168. Even though Crowe was aware of this cooperative, inforrnation-sharing
arrangement between competing warehouse lenders (including the MWLD), it does not appear
that Crowe ever performed any tests to ascertain whether the Intercreditor Agreement and the
information that was accessible under the Intercreditor Agreement was being effectively utilized
as a tool to fight the double-pledging of loans by MWLD customers including Taylor Bean.
Crowe recklessly failed to obtain the Intercreditor Agreement to test the information against the
Pipeline Report, or to confirm the absence of double-pledged assets Had it selected even a small
sample of the loans or requested to see copies of the forward commitments that were purportedly
backing AOT, the Taylor Bean fraud, which also included hundreds of millions of dollars in
double-pledged loans, would have been exposed.

169. Even though AOT was comprised of pools of mortgages that were in the process
of becoming structured financial securities and were even being pre-certified by the custody
department of the MWLD for eligibility for agency or private label sale, Crowe’s auditors
apparently had no understanding of structured financial products and how the products differed
from conventional warehouse lending Because no one within Crowe’s MWLD audit team had
any training _or understanding_of _the structured financial securities comprising AOT, it was
impossible for Crowe to assess controls

l70. That Crowe lacked any appreciation for the significance of assets or collateral

associated with the MWLD is demonstrated by the limited number of audit hours it allocated to

MWLD.

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171. Not only was there no testing of the AOT, Crowe’s internal audit engagement
partner had no knowledge of the MWLD’s basic accounting or the departments that fell within
the MWLD.

172. Even though BancGroup hired Pam Vitto (“Vitto”) as an internal auditor for the
MWLD at the same time that Crowe’s engagement included internal auditing of the MWLD,
Crowe had virtually no contact with Vitto, and never developed a division of responsibilities
between Crowe’s staff and Vitto.

l73. While Crowe’s audit of MWLD controls included certain tests of loan packages
(just not Taylor Bean’s collateral packages), Crowe never tested the packages for the potential
for fraud by MWLD customers including Taylor Bean, or contemporaneous wires to the closing
table to determine whether the wires were consistent with collateral documentation Had
Crowe’s collateral package testing included wire testing to ensure consistency, the fraud could
have been easily discovered because the wires would have been inconsistent with the
information included on the collateral packages

l74. Crowe never identified the four types of facilities within the MWLD, never
identified AOT as an asset type, and never included AOT within its Sarbanes-Oxley Section 404
testing Upon information and belief, PwC also relied upon internal testing by Crowe which it

knew or should have known wasdeficient.

175. Crowe was obligated to identify and assess the controls in place to prevent or
identify fraudulent activities of borrowers and Bank employees Despite Crowe’s identification
of double-pledging and customer fraud as a risk in the MWLD, Crowe’s audit “testing” was
limited to a single discussion with Cathie Kissick, one of the Adverse Parties Had Crowe taken

the threat of fraud and double-pledging seriously and treated the MWLD customers as the

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potential fraudsters identified in its business process risk assessment, Crowe would not have
relied on a discussion with one individual but instead would have performed actual tests to see
whether controls were in place to prevent or identify fraudulent activities and, if so, whether
those controls (such as the Intercreditor Agreement) were being effectively utilized for this
purpose.

176. ln a gross departure from its professional duties as BancGroup’s internal auditor,
Crowe applied “tests” and procedures that not only recklessly failed to address the significant
risks in the MWLD, including the risk of fraud, but also increased those risks. Crowe’s audit
testing with regard to the AOT line of credit became so predictably flawed that Crowe
effectively facilitated and enabled the perpetuation of the fraud. Had Crowe appropriately
discharged its professional duties and taken the steps necessary to effectively implement and
monitor internal controls in the MWLD and to safeguard BancGroup’s assets from the potential
risk of fraud by Taylor Bean, Crowe would have, indeed, “picked up on” and exposed the Taylor

Bean fraud.

COUNT I, v
Accountin Ma! rsctice/Profess`ionai Ne li' ence As.A ainst-P’w€'

   

l77. The preceding paragraphs of this Complaint are hereby incorporated into this
Count as if fully set forth herein.

178. v PWC owed BancGroup a duty to exercise due professional care in the conduct of
its audits of BancGroup’s financial statements which included, among other things, the duty to
perform its audits in accordance with PCAOB and generally accepted auditing standards

179. As a result of PwC’s conduct, accounting malpractice/professional negligence,
which was reckless, PwC’s integrated audits of BancGroup fell below and breached the level of

the professional duty of due care that PwC owed to BancGroup. As set forth more fully herein,

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PwC’s conduct fell below the standard of care in at least the following respects, among others:
PwC failed to properly exercise due care in connection with its audit planning, staffing and
supervision of the BancGroup audits; PwC failed to design and perform its audits such as to gain
reasonable assurance that BancGroup’s financial statements Were free of material misstatement
resulting from fraud by customers of the MWLD, including Taylor Bean; PwC routinely failed
to properly compile sufficient evidential matter in its workpapers to support the AOT and COLB
year-end balances reflected in BancGroup’s financial statements despite their significance; PWC
understood that the operational risk, including the risk of customer fraud, was “high” within
BancGroup’s MWLD, yet, in complete disregard of this known risk, PwC auditors failed to
exercise professional skepticism and failed to audit MWLD asset balances with the mindset that
fraud was, indeed, possible; PwC failed to perform audit procedures which were designed to
address the risks identified in its own workpapers including (but not limited to) performing
effective third party confirmations and collateral testing; PwC auditors failed to increase the
scope of their audits in response to indicia of potential fraud involving Taylor Bean and the
Adverse Parties, including but not limited to an unexpected surge in the amount of loans that
were originated by Taylor Bean using the COLB facility that remained unsold after 120 days that
existed as of year-end 2007 which was coupled with an inexplicable increase in activity in
TBW’s AOT facility, all of whichvwas occurring at a time when the real estate market was g
beginning to collapse; PwC failed _to exercise due care in connection With its “walkthroughs” of
the Orlando-based MWLD by, among other things, failing to properly identify and test key
controls relating to AOT and COLB transactions both of which were significant businesses
processes within the MWLD; despite knowing that a lack of controls could result in a

misappropriation of assets, PwC’s integrated audits failed to appropriately and adequately assess

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internal controls within BancGroup’s MWLD and whether those controls were sufficient in light
of the known risk of fraud by mortgage originators, including the adequacy of controls that were
specific to the COLB and AOT facilities; in early 2008, PwC relied on insufficient audit
evidence and post-hoc rationalizations to support the conclusion that transactions consummated
pursuant to the COLB LPSA should continue to be treated as “sales” when the evidence
available to PwC mandated a contrary conclusion; PwC issued false, misleading and unqualified
audit reports which concealed its own malpractice and the ongoing fraud and its impact on
BancGroup’s financial condition and perpetuated the continued dissemination of materially
misleading and misstated financial statements which did not comply with GAAP.

l80. PwC’s accounting malpractice/professional negligence, which was gross if not
reckless, continued throughout its representation of BancGroup, from its 2002 audit engagement
through the issuance of its unqualified audit report on BancGroup’s 2008 fiscal year-end
financial statements and Was the legal and proximate cause of BancGroup’s injuries

lSl. As a direct and proximate result of PwC’s misconduct as described herein,
BancGroup sustained substantial damage in an amount to be determined at trial, including, but
not limited to, the amounts set forth hereinabove

COUNT II
(Breach Of Contract As Against PWC)

l 182. The precedingparagraphs of this Complaint are incorporated into this Count as if

fully set forth herein.
183. As set forth herein, in connection With each of its audits, PwC provided an
engagement letter directed to BancGroup’s Audit Committee in which PwC agreed, among other

things, to perform its integrated audits in accordance with professional standards

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184. As set forth herein, PwC breached the contractual duties it owed to BancGroup
and each of the other express promises that it made in its engagement letters.

185. At all relevant times, BancGroup performed, or substantially performed, its
material obligations under the engagement letters, including, without limitation, the payment of
millions of dollars in fees and expenses to PwC for services rendered, the arrangement for onsite
workspace for the conduct of the audit services as and when requested by PWC, and the
provision of access to books and records of BancGroup and its subsidiaries to the extent and in
accordance with PwC’s request At no time during the course of the engagements did PwC ever
' provide notice to BancGroup of any failure to perform its obligations under any of the
engagement letters.

186 . As a result of PwC’s breach of contract as described herein, BancGroup sustained
substantial damage in an amount to be proven at trial, including but not limited to the amount set

forth hereinabove

COUNT III

fMal ractice/Profes`sional Ne .li' enceiAs~A ainst Crowe

       

'Accountin

187. The preceding paragraphs of this Complaint are hereby incorporated into this
Count as if fully set forth herein,

188. Crowe owed BancGroup a duty to exercise due professional care in the conduct of
its internal audits of BancGroup’s financial statements

189. As a result of Crowe’s accounting malpractice/professional negligence which was
gross (if not reckless) Crowe’s internal audits of BancGroup fell below and breached the level of
the professional duty of due care that Crowe owed to BancGroup. As set forth more fully herein,
Crowe’s conduct fell below the standard of care in at least the following respects, among others:

’ (i) Crowe’s internal auditors recklessly failed to gain an understanding of BancGroup’s MWLD

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or the nature of its financing transactions with Taylor Bean; (ii) notwithstanding its conclusion
concerning the “high” operational risk and the potential for customer fraud in the MWLD,
Crowe recklessly failed to perform any audit procedures with respect to AOT and otherwise
failed to design audit procedures which would have addressed this specific risk; (iii) even though
Crowe understood that Taylor Bean was the MWLD’s largest customer by far and that any
potential fraud by Taylor Bean would be disastrous to BancGroup, Crowe’s auditors
“judgmentally” avoided Taylor Bean loans at the time it conducted critical audit tests ~ including
(but not limited to) collateral testing - Which Would have exposed the fraud; (iv) Crowe failed to
specifically evaluate the potential for the occurrence of fraud and how fraud risk is managed in
the MWLD and to implement internal audit tests that were designed to unearth such fraud; and
(v) in failing to appropriately monitor internal controls relating to the MWLD, Crowe also failed
to safeguard BancGroup’s assets as it said it would.

l90. Crowe’s accounting malpractice/professional negligence, which was gross if not
reckless, continued throughout its representation of BancGroup, from its 2002 internal audit
engagement through its 2008-2009 internal audit engagement and was the legal and proximate
cause of BancGroup’s injuries.

191. As a direct and proximate result of Crowe’s misconduct as described herein,
BancGroup_sustained substantial damage in _an amount to be_ determined at trial, including, but
not limited _to, the amounts set forth hereinabove

COUNT IV
(Breacli Of Contract As Against Crowe[

l92. The preceding paragraphs of this Complaint are incorporated into this Count as if

fully set forth hereinl

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193. As set forth herein, in connection with each of its audits, Crowe promised, among
other things, that: (i) it would assist in developing an annual risk-based internal audit services
plan”; (ii) it Would direct, review, and supervise the day-to-day performance of the audit plan;
that it would comply with applicable AICPA, U.S. Securities and Exchange Commission (SEC),
Public Company Accounting Oversight Board (PCAOB), and other regulatory independence
guidance; (iii) its services would include a review of key internal controls and detail testing of a
sample of transactions and that higher risk areas would be covered in more detail and with
greater frequency; (iv) it would submit written reports to BancGroup’s Audit Committee
throughout the year to communicate the results of our internal audit services for each area of the
audit plan; and (v) it would assist in developing control risk assessments, audit plans, audit
programs, and audit reports. f

l94. Crowe further represented that the scope of its internal audit included monitoring
controls over Mortgage Warehouse Lending activity, managing customer relationships,
processing and recording transactions, safeguarding assets, and regulatory compliance

195. As set forth herein, Crowe breached the aforesaid contractual duties it owed to
BancGroup by, among other things, failing to perform its audits in accordance with PCAOB
standards and in accordance with each of the other express promises that it made in its
engagement letters and Internal Control Reports.

196._ At all relevant times, BancGroup performed, or substantially performed, its
material obligations under the engagement letters, including, without limitation, the payment of
millions of dollars in fees and expenses to Crowe for services rendered, the arrangement for
onsite workspace for the conduct of the audit services as and when requested by Crowe and the

provision of access to books and records of BancGroup and its subsidiaries to the extent and in

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accordance with Crowe’s request At no time during the course of the engagements did Crowe
ever provide notice to BancGroup of any failure to perform its obligations under any of the

engagement letters

197. As a result of Crowe’s breach of contract as described herein, BancGroup
sustained substantial damage in an amount to be proven at trial, including, but not limited to, the

amount set forth hereinabove
WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

A. For actual damages in excess of the jurisdictional limit of this Court in an amount

to be proven at trial;

B. For pre-judgment and post-judgment interest as allowed pursuant to applicable

statutory and common law;
C. For exemplary damages;
For the Plaintiffs’ taxable costs and expenses of litigation;

D
E. Disgorgement of profits as allowed by law; and
F

Such further equitable or other relief as the Court deems appropriate under the

circumstances

[Remainder of page intentionally left blank,' signatures commence on following page ]

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VI. JURY DEMAND

Plaintiffs hereby demand a jury for the trial of this action.

Dated: February ll, 2016

Attorneys for The Colonial BancGroup, Inc.

Respectfully submitted,

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and correct copy of the foregoing
document was electronically served on February ll, 2016, by transmission ofNotices of
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